       04-62548-lek Doc#31
                         IN Filed
                             THE 04/20/05
                                  UNITED Entered
                                          STATES 04/20/05 20:30:31
                                                  BANKRUPTCY       Main Document Pg 1 of 2
                                                                COURT
                      WESTERN DISTRICT OF TEXAS/WACO DIVISION

IN RE: ANQUENETTA SHONTRELL DUNNER                                           CASE No.
       4303 DUGGER ST.
                                                                             04-62548 LK
       WACO TX                        76705-0000

                                 FINAL REPORT AND ACCOUNT
                                                                         SS#1 - XXX-XX-6528
                                                                         SS#2 - XXX-XX-0000

This Case was                   The Plan was                     The Case was
commenced on Nov 15, 2004       confirmed on                     concluded on Mar 28, 2005

THIS CASE IS DISMISSED BEFORE CONFIRMATION           .
     Your trustee has maintained a detailed record of all receipts, including
the source or other identification of each receipt and of all disbursements.
Copies of these detailed records have been filed with the Court, or are attached
hereto, and are incorporated by reference in this report.


RECEIPTS: Amount paid to the Trustee by or for the Debtor for              the   benefit of
          creditors.                                                              $       .00

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DISBURSEMENTS TO CREDITORS     CLASS        AMOUNT     AMOUNT PAID        BALANCE
          CREDITOR'S NAME                  ALLOWED PRINCIPAL   INTEREST     DUE
--------------------------------------------------------------------------------
AMERICREDIT FINANCIAL SVCS I SECURED     24540.15       .00      .00    24540.15
AMERICREDIT FINANCIAL SVCS I NOT FILED        .00       .00      .00         .00
ARROW FINANCIAL SERVICE      NOT FILED        .00       .00      .00         .00
ASSET ACCEPTANCE             UNSECURED    1974.50       .00      .00     1974.50
BEALLS                       NOT FILED        .00       .00      .00         .00
BEALLS RECOVERY DEPT         NOT FILED        .00       .00      .00         .00
BECKET & LEE LLP             NOT FILED        .00       .00      .00         .00
BECKET & LEE LLP             UNSECURED     964.82       .00      .00      964.82
DIAMOND SHAMROCK CORPORATION NOT FILED        .00       .00      .00         .00
DISCOUNT FLOORS              NOT FILED        .00       .00      .00         .00
ECAST SETTLEMENT CORPORATION UNSECURED    1077.17       .00      .00     1077.17
FHA FARMERS HOME ADMINISTRAT NOT FILED        .00       .00      .00         .00
FOLEYS                       UNSECURED     558.07       .00      .00      558.07
GARY WILLIAM CUNHA           NOT FILED        .00       .00      .00         .00
INTERNAL REVENUE SERVICE     PRIORITY     7969.77       .00      .00         .00
LINEBARGER HEARD GOGGAN BLAI NOT FILED        .00       .00      .00         .00
MCCREARY VESELKA BRAGG ALLEN NOT FILED        .00       .00      .00         .00
MCLENNAN COUNTY TAX ASSESSOR SECURED       773.99       .00      .00      773.99
MCREYNOLDS LAW FIRM          NOT FILED        .00       .00      .00         .00
PORTFOLIO RECOVERY ASSOC     UNSECURED     875.58       .00      .00      875.58
SOUTHWESTERN BELL            UNSECURED    1529.44       .00      .00     1529.44
STATE FARM MUTUAL AUTOMOBILE UNSECURED    3408.06       .00      .00     3408.06
SYNERGY MORTGAGE             NOT FILED        .00       .00      .00         .00
WALT FAIR                    NOT FILED        .00       .00      .00         .00




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IN RE: ANQUENETTA SHONTRELL DUNNER                                      CASE No.04-62548 LK


SUMMARY OF CLAIMS ALLOWED AND PAID
--------------------------------------------------------------------------------
         SECURED   PRIORITY   GENERAL     LATE     SPECIAL   TOTAL
---------------------------------------------------------------------TOTAL PAID
AMT ALL. 25314.14    7969.77 10387.64                   .00 45671.55 PRINCIPAL
PRIN PD        .00       .00       .00                  .00        .00 AND INT.
INT PAID       .00       .00       .00                             .00        .00
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OTHER DISBURSEMENTS UNDER ORDER OF COURT:
          DEBTOR'S ATTORNEY             FEE ALLOWED    FEE PAID
JAMES C HERRING & ASSOCIATES               2000.00            .00
--------------------------------------------------------------------------------
COURT COSTS AND OTHER EXPENSES OF ADMINISTRATION:

FILING FEE     ADDITIONAL CHARGES                TRUSTEE         OTHER
             -----------------------       -------------------
& DEPOSIT      1% OF    .25 EA CLAIM       EXP. & COMPENSATION    COST
             RECEIPTS     OVER 20                FUND
----------   ---------- ------------       ------------------- ---------
      .00                                       .00/      .00        .00            .00

     WHEREFORE,   your Petitioner prays that a Final Decree be entered discharging
your Petitioner   as Trustee and releasing your Petitioner and the Trustee's sure-
ty from any and   all liability on account of the within proceedings, and closing
the estate, and   for such other and further relief as is just.

                                              /s/ Ray Hendren
                                              ________________________________________
                                              RAY HENDREN CH13 TRUSTEE
                                              101 E 9TH STREET
                                              SUITE 1200
                                              AUSTIN TX                      78701-2402
CC: US TRUSTEE
    903 SAN JACINTO STE 230

    AUSTIN TX                           78701-0000
